I              Case: 4:17-cv-02305-SRC Doc. #: 105 Filed: 03/01/19 Page: 1 of 2 PageID #: 880


                                                         UNITED STATES DISTRICT COURT
                                                         EASTERN DISTRICT OF MISSOURI
                                                               EASTERN DIVISION
    CATHERINE GOULD, individually, and on behalf of all others similarly
    situated,
                                                                                  )
                                                                                  )
                              Plaintiff(s),                                       )
                                                                                  )
                        vs.                                                       )            Case No. 4:17-CV-02305-RWS
    FARMERS INSURANCE EXCHANGE,                                                   )
    FARMERS INSURANCE COMPANY, INC.,
    FIRE INSURANCE EXCHANGE,                                                      )
                                                                                  )
                              Defendant(s).                                       )


                                                  DESIGNATION OF NEUTRAL BY PARTIES
                                                                 AND
                                                       ADR CONFERENCE REPORT

                         Pursuant to the Court's Order Referring Case to ADR for mediation/early neutral

               evaluation, dated              Februrary 1, 2019   the parties hereby designate by agreement the following individual

               from the Court's list of Certified Neutrals to serve as Neutral in the above-styled action:

                         Name of Neutral:                                      The Honorable James F. Holderman

                         Firm Name and Address:                                JAMS
                                                                               71 S. Wacker Drive, Suite 2400
                                                                               Chicago, Illinois 60606




                         Telephone & FAX Number:                               (P) 312-655-9192; (F) 312-655-0644

                         The attorneys of record in this case are:

                         Name of Lead Counsel:                                 David T. Butsch and Christopher E. Roberts

                         Firm Name and Address:                                Butsch Roberts & Asssociates LLC
                                                                               231 S. Bemiston, Suite 260
                                                                               Clayton, Missouri 63105




                         Telephone & FAX Number:                               (P) 314-863-5700; (F) 314-863-5711

                         Name of Other Counsel:                                Randall Hack & Brian Hays
I    Case: 4:17-cv-02305-SRC Doc. #: 105 Filed: 03/01/19 Page: 2 of 2 PageID #: 881


                                                                     Locke Lord LLP
               Firm Name and Address:                                111 S. Wacker Drive
                                                                     Chicago, Illinois 60606




               Telephone & FAX Number:                               (P) 312-443-0676

               The completion deadline for this ADR referral is April 11, 2019

               The parties, in consultation with the assigned neutral, hereby designate by agreement the

     following date, time, and location of the initial ADR conference:

               Date of Conference:     April 11                                                    20 19

               Time of Conference: 9:30 A.M.                                                               a/p.m.

               Location of Conference (Check One):

                   Designated Space at the United States Courthouse, 111 South Tenth Street, St. Louis, MO 63102



               ✘ Other Location:        JAMS
                                        71 S. Wacker Drive, Suite 2400
                                        Chicago, Illinois 60606




               All parties and the assigned neutral have been given at least fourteen (14) days notice of the

     above-dated conference. The neutral shall schedule any additional conference(s) in consultation with

    the parties.

               We, the undersigned parties to this action, declare that this designation is both consensual and

    mutual.


    3/2/2019                                               /s/ Christopher E. Roberts #61895

    Date

                                                           Signature of Plaintiff(s)
                                                          /s/ Brian Hays




                                                           Signature of Defendant(s)
